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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

UNITED STATES OF AMERICA )
)
Vv. ) CASE NO.CV 122-007

)

FUNDS SEIZED FROM WELLS )
FARGO ACCTS. ENDING IN 3693, )
1970, 2039 AND VENMO/PAYPAL )
ENDING IN 2280. )
)

)

CONWAY JAMES RHINEHART )
)

Claimant )

)

VERIFIED CLAIM

Pursuant to Rule G(5) of Title XIII, Supplemental Rules for Certain Admiralty
and Maritime Claims of the Federal Rules of Civil Procedure, I Conway James
Rhinehart, hereby claim and demand the return and/or release of the following seized
items in the instant case:

1,

All United States currency identified in paragraph 5 of the VERIFIED
COMPLAINT FOR FORFEITURE IN REM, which includes:

- Venmo/PayPal Card Holder #5143-7724-0632-2280, VL: $1,833.50

- Wells Fargo Bank, N.A., Acct. #1010300971970, VL: $18,585.93

- Wells Fargo Bank, N.A., Acct. #9352683693, VL: $26,467.50

- Wells Fargo Bank, N.A., Acct. #1927582039, VL: $40.00
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2.

I, James Conway Rhinehart, am the claimant in this case. My interest in the
property that was seized is that I lawfully deposited United States currency into the above
listed accounts and that said funds were obtained by a variety of legal means. The above
listed accounts were in my name and I deposited funds from lawful activities into said
accounts and said funds should not be subject to forfeiture.

I hereby verify that the averments contained in the foregoing Claim are true and
correct to the best of my knowledge, information and belief.

I declare under penalty of perjury under the laws of the State of Georgia and the

United States of America that the foregoing is true and correct.

A,
This i ) day March, 2022.
( CULL, Awrees i Kindresch
Conway James Rhinehart
Sworn to and subscribed before me Stee Al. Set,
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this |" day of March, 2022. é YF SOX Y aot,
y EOis! boise
Relea & fl BOK Gh oh 3
Notary Public = “Z >; he GOs
My commission expires: ))5/\Q| 2)29 “ah, COUNTS oe
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CERTIFICATE OF SERVICE

This is to certify that I have on this day served all parties in this case in
accordance with the notice of electronic filing (“NEF”) which was generated as a result
of electronic filing in this Court.

This 14th day March, 2022.

/s/Jeffrey Johnston
Jeffrey E. Johnston
Attorney for Defendant
State Bar No. 397157

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